                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MARYLAND
PETER J. MESSITTE                                                            6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE                                             GREENBELT, MARYLAND 20770
                                                                                         301-344-0632


                                        November 19, 2020

Thomas G. Hentoff, Esquire
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Williams & Connolly LLP
Washington, D.C. 20005-5901

       Re: Access to Sealed Docket re: Washington Football Team Dispute

Gentlemen,

        Chief Judge Bredar of our Court has passed on to me your letter dated November 18,
2020. You are advised that there is presently pending in the Southern Division of this Court in
Greenbelt a case styled “Robert Rothman et al. v. Daniel Snyder; SEALED, Civil No. 20-3290
PJM.” I am the Presiding Judge, so that any and all communications with the Court pertinent to
the case hereafter should come to me rather than to Chief Judge Bredar.

         Under Local Rule 105.11 of our Court, when a motion to seal is filed in connection with
a case, it remains sealed for 14 days after public notice, after which the Court sua sponte or on
motion of an interested party decides to keep it sealed or unseals it in whole or part. The motion
to seal in this case is public as of the date of this letter. Accordingly, the filings subject to the
motion will remain sealed until at least December 3, 2020.

        The Washington Post (or any other interested party) may certainly state its position in the
matter in the interim; in fact, counsel for the parties are agreeable to accepting your letter to
Chief Judge Bredar as your formal filing. If you do wish to file a more formal pleading, it should
be filed by no later than 5:00 p.m. on Monday, November 23, 2020. Counsel for the parties will
then have the opportunity to respond by December 1, 2020. The Court will decide the request to
unseal by December 3, 2020, thereafter.

        For your information, the public docket sheet as of tomorrow will reflect the name of the
case, the case number, and the names and contact information of counsel. However, as of now,
each docket entry will simply read “Document Filed Under Seal,” listing the date of the filing.
You may wish to address that arrangement in a supplemental filing.

       You are further advised that no decision will be made in this case by November 25, 2020.
The Court has temporarily taken the case under advisement in order to consider certain
preliminary matters.


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       Please be sure to send my chambers a courtesy copy of any filings you may make.

       If you need to be in touch with chambers, please contact my law clerk, Christine Coogle,
Esquire, at 301-344-3654 or christine_coogle@mdd.uscourts.gov.

                                            Sincerely Yours,

                                            Honorable Peter J. Messitte


CC:    Court File (not under seal)
       Counsel of Record
       Chief Judge Bredar
       Katie Nader




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